  8:12-cv-00031-LSC-FG3 Doc # 104 Filed: 09/24/13 Page 1 of 1 - Page ID # 695



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


JEFF BROWN, Individually and as Co-
Special Administrator of the Estate of
KB, Deceased; and SHERRI GOTHIER,                         CASE NO. 8:12CV31
Individually and as Co-Special
Administrator of the Estate of KB,
Deceased;                                               ORDER OF DISMISSAL

                   Plaintiffs,

      vs.

MERCY MEDICAL CENTER, Sioux City;
MERCY MEDICAL SERVICES, MERCY
HEALTH SERVICES, Iowa, Corp.;

                   Defendants.


      This matter is before the Court on the Plaintiffs’ Motion to Dismiss with prejudice

(Filing No. 103). Under Federal Rule of Civil Procedure 41(a)(2), the Court finds that

the motion should be granted and the Plaintiffs’ complaint should be dismissed with

prejudice. Accordingly,

      IT IS ORDERED:

      1.     The Plaintiff’s Motion to Dismiss with prejudice (Filing No. 103) is granted;

             and

      2.     This case is dismissed with prejudice.

      Dated this 24th day of September, 2013.

                                                BY THE COURT:
                                                s/Laurie Smith Camp
                                                Chief United States District Judge
